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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

      BOYD DAIGLE                        *      CIVIL ACTION NO. 2:11-cv-02499

      Versus                             *      SECTION “F”

      DRC EMERGENCY                      *      DIVISION “5”
      SERVICES, LLC
      AND DRC MARINE LLC                 *      JUDGE MARTIN L.C. FELDMAN

                              *   MAGISTRATE ALMA L. CHASEZ
      **********************************************************

        MEMORANDUM IN SUPPORT OF MOTION TO DISMISS ON BEHALF
                    OF LAWSON PURSUANT TO THE
                PROVISIONS OF FED. R. CIV. P. 12(B)(6).


      Defendant, Lawson Environmental Services, LLC. (Lawson) provides this

Memorandum in Support of its Motion to Dismiss the claims of Plaintiffs, Ray Gaudet

and Fred Matherne, pursuant to the provisions of Fed. R. Civ. P. 12(b)(6).

                                      1. INTRODUCTION

      Plaintiffs, Ray Gaudet and Fred Matherne previously filed complaints against

Lawson claiming entitlement to damages for Lawson’s alleged breach of its Vessel

Charter Agreement with these individuals. Specifically, in the matter entitled Ray

Gaudet v. Lawson Environmental Services, LLC originally bearing Civil Action No.

2:11-cv-02512-CJB-SS, transferred by this division to the Honorable Judge Carl

Barbier and consolidated with MDL-2179, Ray Gaudet alleges that he entered into a

Vessel Charter Agreement with Lawson on June 28, 2010. Gaudet further alleges

that his vessel, LA-3066-VW and its crew were placed into service by Lawson

pursuant to the Charter from June 28, 2010 through November 26, 2010 at which
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time the vessel was decontaminated and released. He claims that the vessel was

under charter for 178 days but was only paid for 8 to 10 days of service. This

complaint seeks payment for Lawson’s alleged breach of contract for failure to pay

Gaudet for 95 days during which the vessel was under charter but for which it was

not paid.

      In the matter of Fred Matherne, originally bearing Civil Action No. 2513-J(5),

ordered consolidated with MDL-2179 by the Honorable Judge Carl Barbier, Fred

Matherne likewise alleges that he entered into a Vessel Charter Agreement with

Lawson on June 28, 2010. Matherne alleges that his vessel, #LA-2142-VD and its

crew were placed into service by Lawson pursuant to the charter from July 12, 2010

to November 26, 2010 when the vessel was decontaminated and released. Matherne

claims that although the vessel was under charter for 138 days, he was not paid for

the entirety of those days. He claims entitlement to the full amount owed for the

days during which the vessel was under Charter.

      Both Gaudet and Matherne in the previously referenced lawsuits allege

Lawson’s breach of contract on the basis of race, a claim of violation of 42 USC §

1981 and under the Louisiana Unfair Trade Practices and Consumer Protection Act.

      Lawson has recently filed into the record of this litigation, its notice of related

cases (Doc. 23) noting the filing of the above referenced suits, the obvious

suggestion being that these matters should be transferred to MDL No. 2179.

      Lawson admits that it entered into agreements with Ray Gaudet and Fred

Matherne to utilize their vessels in connection with the BP Oil Spill Response Project.
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In fact, both of these gentleman’s vessels were utilized and they were paid, as was

Lawson, for the days that their vessel’s actually worked.

      The claims against Lawson by Ray Gaudet and Fred Matherne are identical to

those asserted by Boyd Daigle against DRC Emergency Services, LLC and DRC

Marine LLC. Those Defendants filed an original Motion to Dismiss Pursuant to Rule

12(b)(6), which motion was withdrawn subsequent to the filing of Plaintiffs’ First

Supplemental and Amending Complaint which added various allegations and added

Ray Gaudet and Fred Matherne as parties plaintiffs and putative class members.

Subsequent to the filing of the First Supplemental and Amending Complaint, DRC

Emergency Services LLC and DRC Marine LLC filed another Motion to Dismiss

pursuant to the provisions of Rule 12(b)(6) of the Federal Rules of Civil Procedure.

      Lawson adopts the legal arguments made by those Defendants in their

Motion and Memorandum in Support of Motion to Dismiss and seeks dismissal of the

claims of Ray Gaudet and Fred Matherne on the same grounds and for the same

legal reasons.

                                         Respectfully Submitted:

                                         THE SCHWAB LAW FIRM

                                         __/s/ Estelle E. Mahoney_____
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                          CERTIFICATE OF SERVICE

          I hereby certify that on 13th day of March 2012, I electronically filed
  the foregoing with the Clerk of Court by using the CM/ECF system which will
  send a notice of electronic filing to all CM/ECF participants. I further certify
  that I mailed the foregoing document and the notice of electronic filing by
  first-class mail to all non-CM/ECF participants.

                                            /s/ Estelle E. Mahoney___
                                           ESTELLE E. MAHONEY
